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                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF KENTUCKY
                                 COVINGTON DIVISION
                                   Electronically Filed

 JAMES AND DONNA BREETZ                               CASE NO. 2:15-CV-00076

         PLAINTIFF                                    JUDGE: AMUL R. THAPAR

 v.

 WEST CHESTER HOSPITAL, LLC, ET AL.

         DEFENDANTS


              NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

         Plaintiffs, James Breetz and Donna Breetz, by counsel, and pursuant to Federal Rule of

 Civil Procedure 41(a)(1)(A) hereby give notice that they are voluntarily dismissing their claims

 against the Defendants Alphatec Spine, Inc., and Alphatec Holdings, Inc., without prejudice to

 their right to re-file said claims.


                                                      Respectfully submitted,

                                                      /s/ Paul J. Schachter_____________
                                                      Paul J. Schachter (61750)
                                                      Schachter, Hendy & Johnson, PSC
                                                      909 Wright’s Summit Parkway, Suite 210
                                                      Ft. Wright, KY 41011
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                                                      COUNSEL FOR PLAINTIFFS
Case: 2:15-cv-00076-KKC-JGW Doc #: 83 Filed: 07/14/15 Page: 2 of 2 - Page ID#: 409




                                          CERTIFICATE OF SERVICE

         I hereby certify that on July 14, 2015, I electronically filed the foregoing with the clerk of the

 court by using the CM/ECF system which will automatically serve and send a notice of electronic filing

 to all registered attorneys of record.

                                                        /s/ Paul J. Schachter_____________
                                                        Paul J. Schachter (61750)
